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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                    Plaintiff,                  )           8:08CR351
                                                )
      vs.                                       )             ORDER
                                                )
THOMAS PRETENDSEAGLE,                           )
                                                )
                    Defendant.                  )


      This matter is before the court on a report from Pretrial Services that defendant,
Thomas Pretendseagle, has completed treatment at the Omaha Campus for Hope but has
failed to secure placement in an aftercare facility. Defendant shall surrender to the U.S.
Marshal to be detained pending an aftercare placement.
      IT IS SO ORDERED.
      DATED this 26th day of January, 2009.
                                                BY THE COURT:
                                                s/Thomas D. Thalken
                                                United States Magistrate Judge
